         Case 3:14-cr-02010-BAS               Document 71           Filed 03/24/15           PageID.314            Page 1 of 4

AO 245B (CASDRev. 08/13) Judgment in a Criminal Case


                                  UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF CALIFORNIA                             151:,",7 211         i: h9
            UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE ','                                ,
                              V   .                                (For Offenses Committed On or After November '1, 198'7)' "
              ERIC GALLEGOS-LEYV A (1)                                                                                          f 'j
                                                                      Case Number:        14CR2010-BAS

                                                                   EZEKIEL CORTEZ
                                                                   Defendant's Attorney
REGISTRATION NO.                 47563298
o ­
IZ1 pleaded guilty to count(s)        ONE (1) OF THE INFORMATION

 o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                       Count
Title & Section                   Nature of Offense                                                                   Numberlsl
21 USC 846, 841(a)(1)             CONSPIRACY TO DISTRIBUTE COCAINE'                                                        1




     The defendant is sentenced as provided in pages 2 through                4           ofthis judgment.
 The sentence is imposed pursuant to the Sentencing Reform Actofl984.
 o The defendant has been found not guilty on count(s)
 o Count(s)                                                   is          dismissed onthe motion of the United States.
                --------------------------~
 IZ1 Assessment: $100.00


 IZI No fine                  0 Forfeiture pursuant to order filed                                                , included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for thisdistrict within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
 any material change in the defendant's economic circumstances.


                                                                     MARCH 2:1, 2015
                                                                     Date of Imposition of Sentence



                                                                    HON~S~
                                                                     UNITED STATES DISTRICT JUDGE


                                                                                                                      14CR201O-BAS
         Case 3:14-cr-02010-BAS            Document 71        Filed 03/24/15       PageID.315        Page 2 of 4

AO 24SB (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:               ERIC GALLEGOS-LEYVA (1)                                                  Judgment - Page 2 of 4
CASE NUMBER:             14CR2010-BAS

                                                 IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of:
TWELVE (12) MONTHS AND ONE (1 ) DAY




 o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
 o    The court makes the following recommendations to the Bureau of Prisons:




 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
       o     ~
                 ---------------- AM                          on
                                                                   -----------------------------------
       o     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
       Prisons:
       IZI   on or before WEDNESDAY, APRIL 29,2015 AT 12:00 PM (NOON)
       o     as notified by the United States Marshal.
       o     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on
                                ________________________ ro _____________________________

 at _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL



                                                                                                         14CR2010-BAS
              Case 3:14-cr-02010-BAS                    Document 71              Filed 03/24/15            PageID.316            Page 3 of 4

    AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

    DEFENDANT:                  ERIC GALLEGOS-LEYVA (1)                                                                      Judgment - Page 3 of 4
    CASE NUMBER:                14CR2010·BAS

                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
       substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U .S.C. § 16901, et
o      seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
       resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fme or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
     of Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     1)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)   the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)   the defendant shall support his or her dependents and meet other family responsibilities;
     5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
     6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
     1) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
          any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold. used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
           unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
           observed in plain view of the probation officer;
     II) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
           the court; and
      13) as directed by the probation officer, the defendant shall notifY third parties ofrisks that may be occasioned by the defendant's criminal record or
           personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
           with such notification requirement



                                                                                                                                      14CR2010-BAS
         Case 3:14-cr-02010-BAS          Document 71       Filed 03/24/15      PageID.317       Page 4 of 4

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:            ERIC GALLEGOS-LEYVA (l)                                                Judgment - Page 4 of 4
CASE NUMBER:          14CR20 1O-BAS

                                 SPECIAL CONDITIONS OF SUPERVISION


     1. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

     2. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
        Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
        contraband or evidence of a violation of a condition of release; failure to submit to a search may be
        grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.


II
/I
II




                                                                                                   14CR20 1O-BAS
